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 6
                                 UNITED STATES DISTRICT COURT
 7
 8                            CENTRAL DISTRICT OF CALIFORNIA

 9   THERESA BROOKE, a married woman
     dealing with her sole and separate claim,      Case No:
10
11                           Plaintiff,             VERIFIED COMPLAINT
12   vs.                                            (JURY TRIAL DEMANDED)
13
     12828 MOB LLC, a Delaware limited
14   liability company,
15
                             Defendant.
16
            Plaintiff alleges:
17
                                              PARTIES
18
            1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
19
     and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
20
     the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
21
     California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
22
     to the loss of a leg.
23
            2.      Defendant, 12828 Mob LLC, owns and/or operates and does business as
24
     the hotel Hotel Mariposa located at 12828 West Riverside Drive, Valley Village,
25
     California 91607. Defendant’s hotel is a public accommodation pursuant to 42 U.S.C. §
26
     12181(7)(A), which offers public lodging services. On information and belief,
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     Defendant’s hotel was built or renovated after March 15, 2012.
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 1                                          JURISDICTION
 2          3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
 3   U.S.C. § 12188.
 4          4.     Plaintiff’s claims asserted herein arose in this judicial district and
 5   Defendant does substantial business in this judicial district.
 6          5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
 7   in that this is the judicial district in which a substantial part of the acts and omissions
 8   giving rise to the claims occurred.
 9          6.     Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
10   Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
11   decline jurisdiction.
12                                          ALLEGATIONS
13          7.     Plaintiff alleges that Defendant’s hotel does not have a compliant access
14   aisle at the passenger loading zone adjacent to the hotel lobby in violation of Sections
15   209 and 503 of the 2010 Standards. An access aisle has specific requirements to be
16   compliant with the Standards: It must be (1) 60 inches wide and at least 20 feet long, (2)
17   it must have an accessible route adjoining it, and (3) it cannot be within a vehicular
18   way. Section 503.3.
19          8.     The requirement for an access aisle at a passenger loading zone is
20   immensely important for a person in a wheelchair such as Plaintiff, as it provides safe
21   access to the entry of the hotel and deters others from placing encumbrances or
22   obstacles there such as a vehicle parking. An access aisle is akin to a cross-walk for
23   pedestrians. Absence of an access aisle where required creates dangerous conditions for
24   a person in a wheelchair such as Plaintiff.
25          9.     Plaintiff formerly worked in the hospitality industry. She and her husband
26   are avid travelers to California for purposes of leisure travel and to “test” whether
27   various hotels comply with disability access laws. Testing is encouraged by the Ninth
28   Circuit.


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 1          10.    Plaintiff traveled to Los Angeles in late July 2023 for testing ADA
 2   compliance and leisure travel. She anticipates lodging at and has concrete plans to lodge
 3   at Defendant’s hotel in April 2024, but she will not honor her concrete plans if
 4   Defendant has not provided notice of remediation by then.
 5          11.    During this trip, Plaintiff personally visited Defendant’s hotel.
 6   Defendant’s hotel has a passenger loading zone because pickup and dropoff occurs
 7   there and it is located directly outside of the lobby entrance. There are also design
 8   features showing an intent for utilization as a passenger loading zone. For example,
 9   there is a curb cutout in this area that leads to a ramp directly to the lobby entrance.
10   According to the U.S. Access Board Technical Guidelines on Passenger Loading Zones,
11   passenger loading zones are so common at hotels that even it recognizes “many hotel
12   entrances” have the design features indicating an intent to utilize as PLZs.
13          12.    While at Defendant’s hotel, she discovered that Defendant’s hotel has a
14   barrier to entry to the lobby, which is that the passenger loading zone does not have an
15   access aisle compliant with Section 503.3. It is an absolute requirement to have an
16   access aisle at a passenger loading zone pursuant to Sections 209 and 503. The
17   requirement of an access aisle at a passenger loading zone relates to Plaintiff’s
18   disability of not having one leg and being forced to use a wheelchair because access
19   aisles are required so persons in a wheelchair can maneuver without threat of danger
20   from other vehicles and without other encumbrances obstructing their pathway. The
21   lobby, therefore, is inaccessible to Plaintiff by way of the passenger loading zone
22   because there is no access aisle.
23          13.    Plaintiff gained actual and personal knowledge of a barrier while visiting
24   Defendant’s hotel (no access aisle at passenger loading zone), and as a result, she was
25   deterred from entering the hotel both from the barrier and due to the lack of equality.
26   She anticipates returning to this hotel and has concrete plans to do so in January 2024
27   (see above), but she will only lodge at the hotel if Defendant puts the required access
28   aisle into place and gives notice of such remediation before her definitive return.


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 1   Visiting otherwise would be futile because the lack of the access aisle represents a
 2   barrier to entering the lobby.
 3          14.    It is readily achievable and inexpensive to modify the hotel to provide an
 4   access aisle, which involves painting and measuring tools.
 5          15.    Without injunctive relief, Plaintiff and others will continue to be unable to
 6   independently use Defendant’s hotel in violation of her rights under the ADA.
 7                                    FIRST CAUSE OF ACTION
 8          16.    Plaintiff incorporates all allegations heretofore set forth.
 9          17.    Defendant has discriminated against Plaintiff and others in that it has
10   failed to make its public lodging services fully accessible to, and independently usable
11   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
12   121282(b)(2)(iv) and the 2010 Standards, as described above.
13          18.    Defendant has discriminated against Plaintiff in that it has failed to
14   remove architectural barriers to make its lodging services fully accessible to, and
15   independently usable by individuals who are disabled in violation of 42 U.S.C.
16   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
17   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
18   services nor result in an undue burden to Defendant.
19          19.    In violation of the 2010 Standards, Defendant’s hotel passenger loading
20   zone does not have a disability access aisle compliant with Section 503.3 of the
21   Standards.
22          20.    Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
23   as described above, is readily achievable by the Defendant. Id. Readily achievable
24   means that providing access is easily accomplishable without significant difficulty or
25   expense.
26          21.    Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
27   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
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 1          22.      Without the requested injunctive relief, Defendant’s non-compliance with
 2   the ADA’s requirements that its passenger loading zone be fully accessible to, and
 3   independently useable by, disabled people is likely to recur.
 4          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 5                a. Declaratory Judgment that at the commencement of this action Defendant
                     was in violation of the specific requirements of Title III of the ADA
 6                   described above, and the relevant implementing regulations of the ADA;
 7
                  b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
 8                   36.504(a) which directs Defendant to take all steps necessary to bring its
 9                   passenger loading zone into full compliance with the requirements set
                     forth in the ADA;
10
                  c. Payment of costs and attorney’s fees;
11
12                d. Provision of whatever other relief the Court deems just, equitable and
                     appropriate.
13                                  SECOND CAUSE OF ACTION
14
            23.      Plaintiff realleges all allegations heretofore set forth.
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            24.      Defendant has violated the Unruh by denying Plaintiff equal access to its
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     public accommodation on the basis of her disability as outlined above.
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            25.      Unruh provides for declaratory and monetary relief to “aggrieved
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     persons” who suffer from discrimination on the basis of their disability.
19
            26.      Plaintiff has been damaged by the Defendant’s non-compliance with
20
     Unruh.
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            27.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
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     relief as the Court considers appropriate, including monetary damages in an amount of
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     $4,000.00, and not more.
24
            28.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
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     amount to be proven at trial.
26
            WHEREFORE, Plaintiff demands judgment against Defendant as follows:
27
                  a. Declaratory Judgment that at the commencement of this action Defendant
28                   was in violation of the specific requirements of Unruh; and


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 1
            b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
 2             36.504(a) which directs Defendant to take all steps necessary to bring its
 3             passenger loading zone into full compliance with the requirements set
               forth in the ADA;
 4
 5          c. Payment of costs and attorney’s fees;

 6          d. Damages in the amount of $4,000.00; and
 7          e. Provision of whatever other relief the Court deems just, equitable and
 8             appropriate.
                               DEMAND FOR JURY TRIAL
 9
         Plaintiff hereby demands a jury trial on issues triable by a jury.
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11
         RESPECTFULLY SUBMITTED this 1st day of August, 2023.
12
                                             /s/ P. Kristofer Strojnik
13
                                             P. Kristofer Strojnik (242728)
14                                           Attorneys for Plaintiff
15                                      VERIFICATION
16
         I declare under penalty of perjury that the foregoing is true and correct.
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                       DATED this 1st day of August, 2023.
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                ______________________
22              Theresa Marie Brooke
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